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    Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
    Nos., State Bar No. & Email Address

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                                                                                                              CLERK U.S. BANKRUPTCY COURT
                                                                                                              Central District of California
                                                                                                              BY kaaumoanDEPUTY CLERK




                                                                                                   CHANGES MADE BY COURT
        Individual appearing without attorney
       Attorney for: Amazon Logistics, Inc., et al.

                                            UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA –LOS ANGELES DIVISION

    In re:                                                                      CASE NO.: 2:19-bk-14989-WB                   [Jointly Administered with
                                                                                                                             2:19-bk-14991-WB, and
              SCOOBEEZ, et al.,1                                                CHAPTER: 11                                  2:19-bk-14997-WB]


                  Debtors and Debtors in Possession.                            ORDER:
    _______________________________________
    Affects:                                                                           GRANTING APPLICATION AND SETTING
    ■ All Debtors                                                                      HEARING ON SHORTENED NOTICE
    □ Scoobeez, ONLY
    □ Scoobeez Global, Inc., ONLY
                                                                                       DENYING APPLICATION FOR ORDER
    □ Scoobur LLC, ONLY                                                                SETTING HEARING ON SHORTENED
                                                                                       NOTICE
                                                                 Debtor(s).                     [LBR 9075-1(b)]

    Movant (name): Amazon Logistics, Inc.



1. Movant filed the following motion together with supporting declarations and (if any) supporting documents:

      a. Title of motion: Notice of Motion and Motion for Relief from the Automatic Stay under 11 USC § 362 (with
         supporting declarations) (Action in Non-Bankruptcy Forum)
      b. Date of filing of motion: 01/28/2020

2. Pursuant to LBR 9075-1(b), movant also filed an Application for Order Setting Hearing on Shortened Notice
   (Application) together with supporting declaration(s):

       Date of filing of Application: 01/28/2020

3. Based upon the court’s review of the application, it is ordered that:

      a.         The Application is denied. The motion may be brought on regular notice pursuant to LBRs.

      b.         The Application is granted, and it is further ordered that:
1
  The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc.
(9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill Boulevard, in Glendale, California 91214.
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        (1)         A hearing on the motion will take place as follows:


                Hearing date: February 4, 2020                Place:
                Time:             10:00 a.m.                      255 East Temple Street, Los Angeles, CA 90012
                                                                  21041 Burbank Boulevard, Woodland Hills, CA 91367
                Courtroom:        1375
                                                                  3420 Twelfth Street, Riverside, CA 92501
                                                                  411 West Fourth Street, Santa Ana, CA 92701
                                                                  1415 State Street, Santa Barbara, CA 93101

        (2)         No later than the deadlines given, telephonic notice of the hearing must be provided to all
                    persons/entities listed:

                (A) Deadlines:                         (B) Persons/entities to be provided with telephonic notice:
                Date:    January 29, 2020                Debtor, Plaintiffs in the “Vega Action” as defined in the Application
                                                         and Motion for Relief from Stay, and any other parties in interest
                Time:    5:00 p.m.


                                                                See attached page
                                                       (C) Telephonic notice is also required upon the United States trustee


        (3)         No later than the deadlines given, written notice of the hearing and a copy of this order must be
                    served upon all persons/entities listed using:       one of the methods checked         all of the
                    methods checked

              (A)        Personal Delivery             Overnight Mail                First class mail               Facsimile*              Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written notice and a copy of this
                                                           order:
                Date:    January 29, 2020
                                                         Debtor, Plaintiffs in the “Vega Action” as defined in the Application
                Time:    5:00 p.m.                       and Motion for Relief from Stay, and any other parties in interest




                                                                See attached page
                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)




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        (4)       No later than the deadlines given, a copy of the motion, declarations, and supporting documents (if any),
                  must be served on all persons/entities listed using:        one of the methods checked      all of the
                  methods checked
              (A)      Personal Delivery       Overnight Mail          First Class Mail        Facsimile*     Email*

                (B) Deadlines:                         (C) Persons/entities to be served with motion, declarations, supporting
                    Date: January 29, 2020                 documents:
                                                         Debtor, Plaintiffs in the “Vega Action” as defined in the Application
                    Time: 5:00 p.m.                      and Motion for Relief from Stay, and any other parties in interest




                                                              See attached page
                                                       (D) Service is also required upon:
                                                           -- United States trustee (no electronic service permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)


        (5)         Regarding opposition to the motion

                    opposition to the motion may be made orally at the hearing

                    no later than the deadlines given, written opposition to the motion must be filed with the court and
                    served upon all persons/entities listed using:     one of the methods checked           all of the methods
                    checked
              (A)           Personal Delivery         Overnight Mail              First Class Mail                Facsimile*                Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written opposition to the motion:
                    Date:                                  -- movant’s attorney (or movant, if movant is not represented by an
                                                              attorney)
                    Time:




                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)


        (6)         Regarding a reply to an opposition:

                    a reply to opposition may be made orally at the hearing.

                    no later than the deadlines given, a written reply to an opposition must be filed with the court and
                    served on all persons/entities listed using:        one of the methods checked           all of the methods
                    checked

              (A)           Personal Delivery         Overnight Mail              First Class Mail                Facsimile*                Email*




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                (B) Deadlines:                         (C) Persons/entities to be served with written reply to opposition:
                 Date:                                     -- All persons/entities who filed a written opposition

                 Time:



                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s Copy personally delivered to chambers
                                                              (see Court Manual for address)


        (7)       Other requirements:




        (8)       No later than the deadlines given, movant must file a Declaration of Notice and Service establishing
                  that telephonic notice, written notice, and service of the motion and this order was completed as set forth
                  above, and a judge’s copy of the Declaration of Notice and Service must be personally delivered to the
                  judge’s chambers:

                         at least 2 days before the hearing.

                         no later than:         Date: January 30, 2020             Time: 4:00 p.m.



    * Service by electronic means (facsimile or email) requires compliance with F.R.Civ.P. 5(b)(2)(E).

                                                                        ###




                Date: January 29, 2020




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